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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION

 BRIAN J. HUFFMAN, as Administrator of              )
 the Estate of ELIUD MONTOYA-ARCOS,                 )
 Deceased,                                          )
                                                    )
         Plaintiff,                                 )
                                                    )
                 v.                                 ) No. 18-cv-00184-RSB-BKE
                                                    )
 THE DAVEY TREE EXPERT COMPANY;                     )
 WOLF TREE, INC; MARJORIE L.                        )
 CONNER; CHRISTOPHER BRANCH;                        )
 OSCAR CRUZ; and PABLO RANGEL,                      )
 also known as Pablo Rangel-Rubio,                  )
                                                    )
         Defendants.                                )



DEFENDANTS THE DAVEY TREE EXPERT COMPANY AND WOLF TREE, INC.’S
NOTICE OF INTENT TO FILE A REPLY BRIEF IN FURTHER SUPPORT OF THEIR
            MOTION TO DISMISS THE AMENDED COMPLAINT

        Pursuant to Local Rule 7.6, Defendants The Davey Tree Expert Company and Wolf Tree,

Inc., hereby notify the Clerk of Court of their intent to file a reply brief in further support of their

Motion to Dismiss the Amended Complaint. (ECF No. 209). Defendants will file their reply

brief within the time allowed by Local Rules 6.1 and 7.6.




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Dated: August 1, 2024
       New York, New York


                                  KASOWITZ BENSON TORRES LLP

                                  /s/ Edward E. McNally
                                  Edward E. McNally (pro hac vice)
                                  Brian S. Choi (pro hac vice forthcoming)
                                  Marcellene E. Hearn (pro hac vice forthcoming)
                                  1633 Broadway
                                  New York, New York 10019
                                  Telephone: (212) 506-1700
                                  Facsimile: (212) 506-1800
                                  Email: EMcNally@kasowitz.com

                                  HUNTER, MACLEAN, EXLEY & DUNN P.C.

                                  Christopher W. Phillips
                                  Georgia Bar No. 002920
                                  P.O. Box 9848
                                  Savannah, GA 31412-0048
                                  Telephone: (912) 236-0261
                                  Facsimile: (912) 236-4936
                                  Email: cphillips@huntermaclean.com

                                  Attorneys for Defendants The Davey Tree
                                  Expert Company and Wolf Tree, Inc.




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                                CERTIFICATE OF SERVICE

       I certify that on this day, I caused the foregoing to be served through the Court ECF

system upon all counsel registered to receive service, and via regular U.S. mail on the following:

       Pablo Rangel-Rubio (Pro Se)
       Register No. 22405-021
       USP Atwater
       U.S. Penitentiary
       P.O. Box 019001
       Atwater, CA 95301

       This 1st day of August, 2024


                                             KASOWITZ BENSON TORRES LLP

                                             /s/ Edward E. McNally
                                             Edward E. McNally (pro hac vice)
                                             Brian S. Choi (pro hac vice forthcoming)
                                             Marcellene E. Hearn (pro hac vice forthcoming)
                                             New York, New York 10019
                                             Telephone: (212) 506-1700
                                             Facsimile: (212) 506-1800
                                             Email: EMcNally@kasowitz.com




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